     Case 4:22-cv-00304-MW-MAF Document 127 Filed 07/24/23 Page 1 of 6




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

LEROY PERNELL, et al.,

      Plaintiffs,

v.                                              Case No.: 4:22cv304-MW/MAF

BRIAN LAMB, et al.,

     Defendants.
__________________________/

                       FERPA PROTECTIVE ORDER

      This Court has considered, without hearing, Defendant’s unopposed motion

for entry of FERPA protective order. ECF No. 125. The motion is GRANTED as

follows:

                           PURPOSE AND SCOPE

       1.     In the course of electronic discovery, it has become apparent that

 documents responsive to search terms agreed upon by the Parties may

 contain information protected by the Family Educational Rights and Privacy

 Act (FERPA) (20 U.S.C. § 1232g; 34 CFR Part 99), or information protected

 from disclosure by State and/or Federal regulations or statutes, for which

 special protection may be warranted. The costs and time associated with

 reviewing and redacting all potentially FERPA protected documents in this
    Case 4:22-cv-00304-MW-MAF Document 127 Filed 07/24/23 Page 2 of 6




case is significant and unduly burdensome. In order to avoid unnecessary

expenses and delays in producing the documents, and consistent with the

Parties' agreement, the Court Orders the following:

                      NOTIFICATION PROCEDURES

       2.   Defendants shall provide           notice pursuant   to 20 U.S.C

§1232g(b)(2)(B) to all students, former students, or parents whose educational

records may be produced.

       3.   Defendants shall produce all the potentially FERPA protected

documents for all students and former students who have not objected within 21

days after a valid notice has been sent.

       4.   Notice may be sent to students, former students, or parents via

email. If the university does not receive a bounce-back message indicating that

delivery was unsuccessful, the notice shall be deemed valid. For those students

who do not have a valid email address, notice may be sent via first-class mail

to the last known address on file with the university, and notice will be deemed

valid three days after mailing. Cf Fed. R. Civ. P. 5(b)(2)(C), 6(d).

       5.   In the event there are any objections, Defendants will review the

records of those students who have objected and then redact the documents as

necessary to comply with FERPA.


                                           2
    Case 4:22-cv-00304-MW-MAF Document 127 Filed 07/24/23 Page 3 of 6




                     DESIGNATION PROCEDURES

       6.   All potentially FERPA protected documents shall be designated

"Attorney's Eyes Only" documents, and information shall be maintained in the

custody of outside counsel, including e-discovery vendors as provided in

paragraph 2.2 of the Stipulated Protective Order.


       7.   If Defendants discover that documents containing potentially

FERPA protected information have been produced without an "Attorney's

Eyes Only" designation, Defendants may substitute new versions containing

the designations or redactions for the previously produced documents.

Plaintiffs will delete all copies of the un-designated or un-redacted

document(s). If Plaintiffs wish to use the document publicly, Plaintiffs shall

follow the procedures set for in this Protective Order.

                      USE OF FERPA PROTECTED
                            DOCUMENTS

      8.    The access and use of Attorney's Eyes Only Material shall be

governed by the Stipulated Protective Order, including sections 4 and 5.

      Before Plaintiffs may use any of the potentially FERPA protected

documents, Plaintiffs must submit the documents to Defendants for redaction

under FERPA, if necessary, at least 14 days before Plaintiffs intend to use the

                                          3
    Case 4:22-cv-00304-MW-MAF Document 127 Filed 07/24/23 Page 4 of 6




documents. Alternatively, if Plaintiffs use FERPA protected documents in a

court filing, that filing must be sealed.

       9.     All potentially FERPA-protected documents may only be used for

this litigation.

                     CHALLENGING DESIGNATIONS

       10.    Meet and Confer. Upon receipt of notice that a party is

challenging the designation of a document as containing material protected

by FERPA, the parties shall meet and confer as soon as reasonably practicable

to attempt in good faith to resolve or otherwise limit the issues relating to the

contested material. The parties must make every attempt to resolve any dispute

regarding Attorney's Eyes Only designations or redactions without court

involvement.

       11.    Judicial Intervention. If the parties cannot resolve a challenge

without court intervention, either party may file and serve a motion to

determine the applicability of FERPA. In any such proceeding, the party that

designated the contested material as "Attorney's Eyes Only" shall have the

burden of proof by a preponderance of the evidence of the propriety of such

designation. All parties shall continue to maintain the material in question as

confidential until the court rules on the challenge.

                                            4
    Case 4:22-cv-00304-MW-MAF Document 127 Filed 07/24/23 Page 5 of 6




                          GENERAL PROVISIONS

      12.     Any party may apply to the Court for a modification of this Order

for good cause, and nothing in this Order shall be construed to prevent a party

from seeking such further provisions enhancing or limiting confidentiality as

may be appropriate.

      13.     No action taken in accordance with the Order shall be construed

as a waiver of any claim or defense in the action or of any position as to

discoverability or admissibility of evidence.

      14.     Pursuant to Federal Rule of Evidence 502(d), production under this

Order shall not waive the attorney-client privilege, or any other privilege claimed

in this case, for purposes of this proceeding or any other federal or state

proceeding.

      15.     All other provisions of the Stipulated Protective Order shall

remain in effect.

      16.     Within 60 days after the termination of this action, including all

appeals, each receiving party must return all confidential and Attorney's Eyes

Only material to the producing party, including all copies, extracts and summaries

thereof. Alternatively, the parties may agree upon appropriate methods of

destruction. The confidentiality obligations imposed by this agreement shall


                                            5
    Case 4:22-cv-00304-MW-MAF Document 127 Filed 07/24/23 Page 6 of 6




remain in effect until a designating party agrees otherwise in writing or a court

orders otherwise.

      17.    Once all parties have agreed to this Stipulation, it shall be treated

by the parties as an Order of Court until it is formally approved by the Court.

       22.   Pursuant to 20 U.S.C § 1232g(b)(2)(B), this Order constitutes a

judicial order allowing the release of student educational records.

       SO ORDERED on July 24, 2023.

                                            s/Mark E. Walker             ____
                                            Chief United States District Judge




                                           6
